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                               UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION


  NETLIST, INC.

                 Plaintiff,
                                                         Civil Case No. 2:22-cv-00293-JRG
  v.

  SAMSUNG ELECTRONICS CO., LTD.,                         JURY TRIAL DEMANDED
  SAMSUNG ELECTRONICS AMERICA,                           (Lead Case)
  INC. and SAMSUNG SEMICONDUCTOR,
  INC.,

                 Defendants.


                  JOINT MOTION TO AMEND DOCKET CONTROL ORDER

        Plaintiff Netlist, Inc. (“Netlist”); Defendants Samsung Electronics Co., Ltd., Samsung

 Electronics America, Inc., Samsung Semiconductor Inc. (collectively “Samsung”); and Defendants

 Micron Technology, Inc., Micron Semiconductor Products, Inc., and Micron Technology Texas, LLC

 (collectively “Micron”) respectfully submit this Joint Motion to Amend the Docket Control Order.

        On Saturday, January 21, 2023, Netlist informed Samsung and Micron of its intent to move to

 amend its L.R. 3-1 and 3-2 contentions to identify additional “conception and reduction to practice

 documents” that they located prior to the November 27, 2022 contention deadline. Netlist plans to

 move to amend its L.R. 3-1 and 3-2 contentions to identify these documents and has informed Samsung

 and Micron that it will agree to an extension of time for Samsung and Micron’s L.R. 3-3 and 3-4

 contentions. Netlist is diligently preparing its proposed amended contentions, and the parties will meet

 and confer regarding Netlist’s request after Netlist serves its proposed amended contentions, including

 the amount of time for an additional extension of time for Samsung and Micron’s L.R. 3-3 and 3-4
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 contentions. The parties thus jointly seek a one-week extension of time for Samsung and Micron’s

 L.R. 3-3 and 3-4 contentions to allow the parties time to negotiate regarding Netlist’s request.

        Accordingly, the Parties respectfully request that the Court extend the deadlines as reflected in

 the attached proposed Amended Docket Control Order.

 Dated: January 24, 2023                              Respectfully submitted,

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                                    CERTIFICATE OF SERVICE


        The undersigned hereby certifies that counsel of record who are deemed to have consented to

 electronic services are being served with a copy of this document via the Court’s CM/ECF system per

 Local Rule CV-5(a)(3) on this the 24th day of January, 2023.



                                                       /s/ Melissa R. Smith
                                                         Melissa R. Smith




                                CERTIFICATE OF CONFERENCE

        I hereby certify that Counsel for Plaintiff and Counsel for Defendants have complied with the

 meet and confer requirement in Local Rule CV-7(h) regarding this Motion. The Parties are in

 agreement and are seeking joint relief.




                                                       /s/ Melissa R. Smith
                                                         Melissa R. Smith
